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                             UNITED STATES DISTRICT COURT

                                     DISTRICT OF OREGON

                                      MEDFORD DIVISION




ARNAUD PARIS,
                                                                 Case No. 1:24-cv-00648-AA

                            Petitioner,                   CASE MANAGE MENT ORDER
  v.


HEIDI MARIE BROWN,


                           Respondent.


AIKEN, Judge:

       A.     General Directions

       All documents described below shall be filed using the District Court’s CM/ECF system.

       With questions, contact                    Courtroom Deputy Cathy Kramer
                                                  (541) 431-4102
                                                  cathy_kramer@ord.uscourts.gov

       B.     Scheduling




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       Judge Aiken generally does not hold Rule 16 conferences. Soon after a case is filed, the

Court will issue a scheduling order with deadlines for discovery, the Alternative Dispute

Resolution report, and the Pretrial Order. If the parties wish to alter that schedule, they should

confer and submit a joint proposed case schedule to the Court. If the parties cannot agree on a

case schedule, they shall (1) request a telephonic status conference to settle the scheduling

dispute and (2) submit a joint letter of no longer than three pages, filed at least two days before

the telephonic status conference, setting out their respective positions.

       Absent exigent circumstances, a motion to extend case deadlines, even when unopposed,

should be received at least five days before the current deadline.

       C.      Discovery Disputes

       Judge Aiken does not permit motions to compel without leave. If the parties need the

Court’s assistance resolving a discovery dispute, they should (1) request a telephonic status

conference and (2) submit a joint letter of no longer than five pages, filed at least five days before

the telephonic status conference, setting out their respective positions. Judge Aiken will order

the filing a formal motion and briefs only if necessary following the telephonic status conference.

       D.      Trial

       Absent unusual circumstances, Judge Aiken generally does not set dates for trial until

discovery is complete and dispositive motions, if any, have been resolved. The parties are

encouraged to contact the Court to schedule a telephonic scheduling conference either at the

close of discovery (if no dispositive motions will be filed) or after a ruling on dispositive

motions.




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       E.      Settlement Conferences

       At any point in the litigation, Judge Aiken is ready to schedule a settlement conference

before a District of Oregon judge. The parties are encouraged to request such a conference as

early in the process as they believe it would be helpful.

        IT IS SO ORDERED.

        DATED this 17th day of APRIL, 2024


                                                               /s/ Ann Aiken
                                                               ANN AIKEN
                                                               United States District Judge




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